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                                                                    ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                        DOC#:
SOUTHERN DISTRICT OF NEW YORK                                       DATE FILED: 02/25/2021


 UNITED STATES OF AMERICA,
                                                                  No. 99-CR-75 (RA)
                         v.
                                                                        ORDER
 ROBERTO BERAS,

                              Defendant.


RONNIE ABRAMS, United States District Judge:

         The Court’s previous order requested a brief response from the Government by February

22, 2021 concerning whether any violations of law or this Court’s orders occurred in connection

with Mr. Beras’s transfer to immigration custody. See Dkt. 207. The Government is directed to

provide such a response or to request additional time in which to respond no later than March 1,

2021.

         The Clerk of Court is respectfully directed to mail a copy of this order to Mr. Beras at the

following address: Roberto Beras, #992772, Clinton County Correctional Facility, P.O. Box 419,

McElhattan, PA 17748.

SO ORDERED.

Dated:      February 25, 2021
            New York, New York

                                                   Ronnie Abrams
                                                   United States District Judge
